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                                           United States District Court
                                                         Southern District of Florida
                                                                  MIAMI DIVISION

  UNITED STATES OF AMERICA                                                                   JUDGMENT IN A CRIMINAL CASE

  v.                                                                                                                             Case
                                                                           Number - 1:13-20206-CR-ALTONAGA-1

  BERNARD BELIARD
                                                                           USM Number: 02841-104

                                                                           Counsel For Defendant: Andre Dominique Pierre, Esq.
                                                                           Counsel For The United States: Robin W. Waugh, AUSA
                                                                           Court Reporter: Stephanie McCarn
  ___________________________________



  The defendant pled guilty to Counts One and Two of the Indictment.
  The defendant is adjudicated guilty of the following offenses:

          TITLE/SECTION                                 NATURE OF
             NUMBER                                      OFFENSE                OFFENSE ENDED                         COUNT

    18 U.S.C. ' 1029(a)(3)                     Possession of 15 or more          January 4, 2013                          1
                                               unauthorized access
                                               devices

    18 U.S.C. ' 1028A(a)(1)                    Aggravated Identity Theft         January 4, 2013                          2

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
  pursuant to the Sentencing Reform Act of 1984.

  It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of
  name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
  judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney
  of any material changes in economic circumstances.

                                                                                    Date of Imposition of Sentence:
                                                                                    7/16/2013



                                                                                    ________________________________
                                                                                    CECILIA M. ALTONAGA
                                                                                    UNITED STATES DISTRICT JUDGE

                                                                                    July 16, 2013
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  DEFENDANT: BERNARD BELIARD
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                                                              IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
  for a term of 54 months. This term consist of terms of 30 months as to Count One and 24 months as to Count Two,
  to be served consecutively to Count One.

  The Court makes the following recommendations to the Bureau of Prisons: That the Defendant be
  designated to a facility in the Southern District of Florida

  The Defendant shall surrender to the United States Marshal for this district on Tuesday, July 30, 2013 at
  2:00 P.M.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________

   at _____________________________________________, with a certified copy of this judgment.


                                                                           __________________________________
                                                                                      UNITED STATES MARSHAL


                                                                         By:__________________________________
                                                                                             Deputy U.S. Marshal
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                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of 1 year as to Counts
  One and Two, to be served concurrently.

  The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
  release from the custody of the Bureau of Prisons.

  The defendant shall not commit another federal, state or local crime.

  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
  use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
  imprisonment and at least two periodic drug tests thereafter, as determined by the court.

              The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
              weapon.

              The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay
  in accordance with the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as
  any additional conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  1.          The defendant shall not leave the judicial district without the permission of the court or probation
              officer;
  2.          The defendant shall report to the probation officer and shall submit a truthful and complete written
              report within the first fifteen days of each month;
  3.          The defendant shall answer truthfully all inquiries by the probation officer and follow the
              instructions of the probation officer;
  4.          The defendant shall support his or her dependents and meet other family responsibilities;
  5.          The defendant shall work regularly at a lawful occupation, unless excused by the probation officer
              for schooling, training, or other acceptable reasons;
  6.          The defendant shall notify the probation officer at least ten (10) days prior to any change in
              residence or employment;
  7.          The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
              distribute, or administer any controlled substance or any paraphernalia related to any controlled
              substances, except as prescribed by a physician;
  8.          The defendant shall not frequent places where controlled substances are illegally sold, used,
              distributed, or administered;
  9.          The defendant shall not associate with any persons engaged in criminal activity and shall not
              associate with any person convicted of a felony, unless granted permission to do so by the
              probation officer;
  10.         The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
              and shall permit confiscation of any contraband observed in plain view by the probation officer;
  11.         The defendant shall notify the probation officer within seventy-two (72) hours of being arrested
              or questioned by a law enforcement officer;
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  12.         The defendant shall not enter into any agreement to act as an informer or a special agent of a law
              enforcement agency without the permission of the court; and
  13.         As directed by the probation officer, the defendant shall notify third parties of risks that may be
              occasioned by the defendant=s criminal record or personal history or characteristics and shall
              permit the probation officer to make such notifications and to confirm the defendant=s compliance
              with such notification requirement.
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                                               SPECIAL CONDITIONS OF SUPERVISION

              The defendant shall also comply with the following additional conditions of supervised release:

  Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
  including disclosure of all business and personal finances, to the U.S. Probation Officer.

  Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a
  reasonable manner and at a reasonable time by the U.S. Probation Officer.

  Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering
  into any self-employment.
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                                                     CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the
  Schedule of Payments sheet.

                Total Assessment                                 Total Fine                                Total Restitution

                        $200.00                                  $1,000.00



  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
  committed on or after September 13, 1994, but before April 23, 1996.
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant=s ability to pay, payment of the total criminal monetary penalties are due as follows:

               A. Lump sum payment of $200.00 due immediately, balance due


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
  monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
  through the Federal Bureau of Prisons= Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
  imposed.

  The assessment/fine is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

               U.S. CLERK=S OFFICE
               ATTN: FINANCIAL SECTION
               400 NORTH MIAMI AVENUE, ROOM 8N09
               MIAMI, FLORIDA 33128-7716

  The assessment/fine is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
  U.S. Attorney=s Office are responsible for the enforcement of this order.




          Forfeiture of the defendant=s right, title and interest in certain property is hereby ordered consistent with the
  plea agreement of forfeiture. The United States shall submit a proposed order of forfeiture within three days of this
  proceeding.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
  fine principal, (5) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution
  and court costs.
